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                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE SOUTHERN DISTRICT OF TEXAS
                               CORPUS CHRISTI DIVISION


UNITED STATES OF AMERICA,                          §
     Plaintiff/Respondent,                         §
                                                   §
V.                                                 §           CR. No. C-05-346 (2)
                                                   §           C.A. No. C-08-90
STEVE ALLEN LOPEZ,                                 §
     Defendant/Movant.                             §

              ORDER GRANTING MOTION TO WITHDRAW AS COUNSEL

       On March 21, 2008, the Clerk received Movant Steve Allen Lopez’s (“Lopez”) motion to

vacate, set aside or correct sentence pursuant to 28 U.S.C. § 2255, which was filed pro se. (D.E.

533.) On March 25, 2008, Lopez’s retained counsel in the underlying criminal proceedings, Douglas

Tinker, filed a “Motion to Withdraw” as Lopez’s counsel, now pending before the Court. (D.E. 535.)

Tinker is not counsel of record for Lopez in his § 2255 proceedings, as they were filed pro se.

Nonetheless, to the extent the motion Tinker seeks withdrawal so as not to be noticed on § 2255

filings, the motion is GRANTED. Tinker has no further obligation to represent Lopez in this matter

and the Clerk is directed to change the docket to reflect that Tinker’s representation of Lopez has been

terminated.



       It is so ORDERED this 27th day of March, 2008.




                                               ____________________________________
                                                           Janis Graham Jack
                                                       United States District Judge




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